                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

SARA BETH WILLIAMS, BRUCE              )
KANE, JASON YEPKO, GUN OWNERS          )
OF AMERICA, INC., GUN OWNERS           )
FOUNDATION, GRASS ROOTS NORTH          )
CAROLINA, and RIGHTS WATCH             )
INTERNATIONAL,                         ) Civil Action No. 3:22-cv-630-MOC-DSC
                                       )
                        Plaintiffs,    )
                                       )
v.                                     )
                                       )
SHERIFF GARRY MCFADDEN,                )
in his official capacity as            )
Sheriff of Mecklenburg County,         )
and the MECKLENBURG COUNTY             )
SHERIFF’S OFFICE,                      )
                                       )
                        Defendants.    )
_______________________________________)

  PLAINTIFFS’ MOTION AND SUPPORTING MEMORANDUM FOR RULING ON
                            PLAINTIFFS’
  MOTION FOR PRELIMINARY INJUNCTION OR FOR STATUS CONFERENCE

       COME NOW Plaintiffs, by and through counsel of record, and file this, their Motion for

Ruling on Plaintiffs’ Motion for Preliminary Injunction or for Status Conference, and in support

state as follows:

       Plaintiffs initially filed their Complaint for Declaratory and Injunctive Relief on November

28, 2022. See Doc. 1. On December 12, 2022, Plaintiffs filed their Motion for Preliminary

Injunction and accompanying Memorandum in Support. See Docs. 9, 10. On January 10, 2023,

Defendants filed their response. See Doc. 14. On January 17, 2023, Plaintiffs filed their Reply.

See Doc. 15.




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       The matter was initially set for a hearing on February 28, 2023. However, on February 27,

2023, this Court cancelled the Motion hearing scheduled for the next day. The Court has yet to

reschedule that hearing, or provide any indication as to when such a hearing might be rescheduled.

Nearly four months now have elapsed since the conclusion of briefing on Plaintiff’s Motion for

Preliminary Injunction, which seeks relief from serious and ongoing irreparable harm to

enumerated constitutional rights.

       While the individual plaintiffs had their Concealed Handgun Permits either issued or

renewed by Defendants, Plaintiffs’ Motion for Preliminary Injunction is not moot, as the members

and supporters of the Organizational Plaintiffs continue to suffer irreparable harm. See Doc. 21

For instance, Grass Roots North Carolina (GRNC) has communicated recently with members who

have applied for Concealed Handgun Permits over 45 days ago, but who have yet to be issued or

denied a permit. See Second Supplemental Declaration of Paul Valone, Exhibit “1.” For example,

one such GRNC member applied for a CHP permit on January 9, 2023 (127 days ago), but has yet

to have the application approved or denied. Another applied February 8, 2023, but has yet to have

the application approved or denied.

       It is clear that, without this Court’s intervention, Defendant McFadden will continue the

conduct complained of in Plaintiffs’ Complaint, continuing to cause irreparable harm to the

members and supporters of the organizational plaintiffs. As such, Plaintiffs respectfully request

that this Court issue a ruling on Plaintiffs’ Motion or, in the alternative, set a status conference

with the parties so that Plaintiffs’ allegations of serious and ongoing irreparable harm can be

addressed.




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       Pursuant to L. CvR 7.1 these movants have conferred and consulted with opposing

counsel. The Attorney General ‘s counsel takes no position on the foregoing motion and the

Sherriff’s office opposes the motion.




                                                Respectfully submitted,

May 18, 2023                                    /s/ Robert Neal Hunter, Jr.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, May 24, 2023, I caused the foregoing document to be

filed and served on all counsel of record by operation of CM/ECF system for the United States

District Court for the Western District of North Carolina.


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